Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 1 of 31 Page ID #:278



                      UNITED STATES DISTRICT COURT

                          DISTRICT OF MINNESOTA


  IN RE BANC OF CALIFORNIA               Case No. 0:18-mc-00076-WMW-KMM
  SECURITIES LITIGATION,




       CASTALIAN PARTNERS VALUE FUND LP AND JAMES GIBSON’S
              MEMORANDUM OF LAW IN OPPOSITION TO
              STEVEN SUGARMAN’S MOTION TO COMPEL
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 2 of 31 Page ID #:279


                                                TABLE OF CONTENTS

                                                                                                                          Page


  INTRODUCTION .............................................................................................................. 1
  BACKGROUND ................................................................................................................ 2
  A.       THE UNDERLYING ACTION .............................................................................. 2
           1.        Nature and scope of the claims .................................................................... 2
           2.        The narrow, surviving issues in the Underlying Action .............................. 3
  B.       NON-PARTIES CASTALIAN AND JAMES GIBSON ........................................ 4
  C.       THE SUBPOENAS ................................................................................................. 4
  D.       CASTALIAN’S RESPONSE TO THE SUBPOENAS .......................................... 5
  E.       SUGARMAN’S MOTION TO COMPEL .............................................................. 6
  ARGUMENT...................................................................................................................... 9
  I.       LEGAL STANDARD ............................................................................................. 9
  II.      THE SUBPOENAS SEEK DOCUMENTS AND INFORMATION THAT
           ARE IRRELEVANT TO THE ISSUES AND CLAIMS PENDING IN
           THE UNDERLYING ACTION ............................................................................ 10
           A.        Castalian’s investment decisions are irrelevant to whether defendants
                     made material misrepresentations in their public disclosures .................... 10
           B.        Fraud-on-the-market cases concern the knowledge of the market as a
                     whole, not the knowledge of individual investors like Castalian ............... 12
           C.        Courts in analogous proceedings have quashed subpoenas aimed at
                     third-party investors ................................................................................... 14
           D.        The authority relied upon by Sugarman has nothing whatsoever to
                     do with the issues or facts in this case ........................................................ 16
  III.     THE SUBPOENAS SEEK DOCUMENTS AND INFORMATION THAT
           THE COURT IN THE UNDERLYING ACTION HAS ALREADY
           FOUND TO BE OUTSIDE THE SCOPE OF PERMISSIBLE
           DISCOVERY ........................................................................................................ 19
  IV.      THE MOTION SHOULD BE DENIED BECAUSE THE SUBPOENAS
           SEEK CONFIDENTIAL COMMERCIAL INFORMATION ............................. 21
  V.       THE SUBPOENAS SEEK DOCUMENTS AND INFORMATION THAT
           WOULD VIOLATE THE FIRST AMENDMENT RIGHTS OF OTHER
           THIRD PARTIES .................................................................................................. 23
  VI.      THE SUBPOENAS ARE UNDULY BURDENSOME ON THEIR FACE ........ 26
                                                                  i
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 3 of 31 Page ID #:280


                                                     Table of Contents
                                                       (continued)
                                                                                                                          Page


  VII.     THE SUBPOENAS ARE DIRECTED TO AN ENTITY THAT DOES
           NOT EXIST........................................................................................................... 28
  CONCLUSION ................................................................................................................ 28




                                                                 ii
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 4 of 31 Page ID #:281



                                      INTRODUCTION

         The Court should deny movant Steven Sugarman’s (“Sugarman”) motion to

  compel third parties Castalian Partners and James Gibson (collectively, “Castalian”) to

  produce irrelevant and highly sensitive documents in the underlying securities fraud case

  against Sugarman.1 The limited question in the Underlying Action is whether Sugarman

  made material omissions in statements to the investing public that led to a decline in the

  stock price for the bank where he formerly served as CEO. Sugarman’s subpoenas to

  Castalian are part of an ill-conceived effort to blame short-selling investors for the

  decline of his former bank’s share price. The applicable authorities, however, show that

  the only materials relevant to his theory would include public documents and information

  available to the market as a whole – not personal and confidential materials related to the

  private investment decisions of individual investors like Castalian.

         As discussed below, the court in the Underlying Action has already found that

  similar materials are beyond the scope of permissible discovery.           Moreover, the

  subpoenas seek to impose obligations on Castalian that are not even remotely

  proportional to the needs of the Underlying Action because Castalian has nothing to do

  with the Underlying Action, documents responsive to the subpoenas are irrelevant to the

  limited issues in the Underlying Action, and producing responsive documents would

  result in severe and undue prejudice to Castalian and its investors.




  1
   The securities fraud case is captioned In re Banc of Cal. Sec. Lit., No. SACV 17-00118
  AG (DFMx) (C.D. Cal. Jan. 23, 2017) (the “Underlying Action”).
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 5 of 31 Page ID #:282



           Accordingly, the motion to compel should be denied for the following reasons:

                • First, Castalian’s sensitive trading records and analyses are wholly
                  irrelevant to the Underlying Action. For this reason, courts that have
                  analyzed this same issue in fraud-on-the-market securities cases have flatly
                  rejected Sugarman’s arguments and quashed subpoenas aimed at third-
                  party investors.

                • Second, the court in the Underlying Action has already determined that
                  analogous document requests are outside the scope of permissible
                  discovery, and this Court should do the same.

                • Third, any need Sugarman could have for Castalian’s confidential and
                  proprietary commercial information is entirely outweighed by the harm
                  Castalian would suffer by having its competitive position in the
                  marketplace compromised by the disclosures.

                • Fourth, Sugarman’s subpoenas seek documents that would violate the
                  First Amendment rights of third-parties who wish to remain anonymous.

                • Fifth, the subpoenas exemplify the overbroad and unduly burdensome
                  requests that courts routinely reject when directed at non-parties.

           For these reasons, explained in detail below, Sugarman’s motion should be denied

  and his subpoena should be quashed in its entirety.

                                         BACKGROUND

           A.     THE UNDERLYING ACTION

           1.     Nature and scope of the claims

           From 2012 to 2017, Sugarman was the CEO of Banc of California (“Banc”), a

  national lender with more than $10 million in assets. (ECF No. 41.)2 In the Underlying

  Action, certain aggrieved shareholders allege that during his tenure as CEO, Sugarman




  2
      All citations to the docket refer to the ECF filings in the Underlying Action.



                                                  2
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 6 of 31 Page ID #:283



  and Banc violated federal securities laws by making materially false and misleading

  statements and omissions to the investing public. (Id. ¶ 4.)

         In particular, plaintiffs allege that in connection with Banc’s April 2016 proxy,

  defendants intentionally omitted Sugarman’s ties to convicted securities fraudster Jason

  Galanis (“Galanis”), and Galanis’s use and control of entities owned and managed by

  Sugarman. (Id. ¶¶ 67-72.) Galanis pled guilty to securities fraud in July 2015 and was

  sentenced to a six-year prison term in February 2017. (Id. ¶ 31.) On January 23, 2017,

  Banc disclosed that the SEC had launched a formal investigation against Banc and that

  Sugarman had “resign[ed].” (Id. ¶¶ 10, 88-89.)

         Plaintiffs in the Underlying Action allege that Banc’s stock price fell sharply after

  an anonymous short seller with a pen-name “Aurelius,” published a blog post on October

  18, 2016 (the “Blog Post”) citing publicly-available information (including hundreds of

  pages of court filings) that exposed the truth about the connections between defendants

  and Galanis. (Id. ¶¶ 84.)

         2.     The narrow, surviving issues in the Underlying Action

         In an order denying defendants’ motion to dismiss the Underlying Action, the

  Central District of California held that the April 2016 proxy may have been misleading if

  the entities owned and managed by Sugarman were controlled by Galanis and yet

  Galanis’s securities fraud indictment was omitted from the proxy. (ECF No. 68.)

         In light of the court’s ruling on the motion to dismiss, and as expressly

  acknowledged in recent filings by Banc (ECF Nos. 345; 358), the sole remaining issues

  in the Underlying Action are whether the statement in the April 2016 proxy regarding



                                               3
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 7 of 31 Page ID #:284



  Sugarman’s affiliation with the entities purportedly controlled by Galanis was false or

  misleading and whether Sugarman omitted information from the proxy regarding his

  connection with Galanis with an intent to defraud shareholders. (See ECF No. 68 at 10-

  14; ECF No. 112 at 1-2.) These limited questions have nothing to do with the private

  investment decisions of individual investors like Castalian.

         B.     NON-PARTIES CASTALIAN AND JAMES GIBSON

         Gibson is the principal of Castalian Partners. (Gibson Decl. ¶ 1.)         Castalian

  conducts fundamental research to identify mispriced publicly traded securities. (Id. ¶¶ 4,

  6, 10.) While Castalian is often a long term investor in businesses it finds attractive, it

  also engages in the short sale of securities of companies that it believes are overvalued or

  led by dishonest managers. (Id. ¶ 4.) Castalian’s research and the reasons for its

  investment and trading decisions are proprietary and highly confidential. (Id. ¶ 6.)

  Neither Gibson nor Castalian Partners are parties in the Underlying Action. They have

  no alleged ties to any party in the Underlying Action, and they had no involvement in the

  litigation until Sugarman served them with subpoenas.

         C.     THE SUBPOENAS

         The two subpoenas, served on Castalian Partners and “James Gibson, LLC,” are

  nearly identical. (Gray Decl. Exhs. 7-8.) While James Gibson is the name of Castalian’s

  owner and manager, James Gibson, LLC does not exist. (Gibson Decl. ¶ 3.) The

  subpoenas seek the production of nearly a dozen broad categories of confidential

  documents—spanning a period of nearly twenty months to five years—that are irrelevant

  to the issues and claims in the Underlying Action:




                                               4
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 8 of 31 Page ID #:285



      • All documents reflecting Castalian’s transactions in Banc securities, including
        profits earned, and the bases for its decision to engage in such transactions,
        including investment models, analyses, reports, research and investigations (Gray
        Decl. Ex. 7, Request Nos. 2 and 3);

      • The personal identities and contact information for all of Castalian’s investors as
        of October 18, 2016 (Id., Request No. 11);

      • All documents and communications referring, reflecting or relating to Aurelius,
        Aurelius’s identity, the Blog Post or Seeking Alpha.com (Id., Request No. 4);

      • All documents or communications with any third party, including journalists,
        regarding Banc, Sugarman, Galanis, the Blog Post or Aurelius (Id., Request Nos.
        5 and 6);

      • All documents or communications with dozens of third-parties, including legal
        counsel, Banc investors, other short-sellers, the SEC and other securities and
        banking regulators, regarding Banc or Sugarman. (Id., Request Nos. 7 and 8);

      • All communications, regardless of subject matter, with Banc or third-parties
        representing Banc (Id., Request No. 1);

      • All communications, regardless of subject matter, with nearly thirty separate
        individuals or entities, including journalists and Castalian’s own principal James
        Gibson (Id., Request No. 9).

      Collectively, these requests constitute a sweeping fishing expedition that would

  purport to: (1) force a non-party investor to turn over its proprietary trading records,

  including client lists, securities analyses, the bases for its transactions, and confidential

  communications with other market participants, journalists, law firms and regulators; and

  (2) elicit documents, to the extent any exist, that would potentially reveal the identity of

  the Blog Post’s anonymous author. (Id.)

         D.     CASTALIAN’S RESPONSE TO THE SUBPOENAS

         Castalian objected to the subpoenas on the basis that James Gibson, LLC does not

  exist and they purport to elicit information that: (1) is irrelevant to the Underlying Action;



                                                5
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 9 of 31 Page ID #:286



  (2) is grossly overbroad and unduly burdensome; and (3) would purport to require

  Castalian to divulge proprietary and confidential information as well as attorney-client

  privilege and attorney work product. (Id., Ex. 9.) In response, Sugarman offered ever-

  changing theories in an attempt to establish relevance, refused to agree to abandon or

  limit the scope of any request, declined Castilian’s offer of a declaration, and then moved

  to compel responses. (Id., Exs. 10-11.)

         E.     SUGARMAN’S MOTION TO COMPEL

         Sugarman’s subpoenas and his related motion to compel establish no connection

  between the limited issues in the Underlying Litigation—i.e., whether he made material

  omissions in statements to the investing public—and the documents he seeks to discover.

  Rather, Sugarman is pursuing a tangential theory that Castalian conspired with a group of

  “traders” to “drive the stock price downward based on false information and make money

  when the stock rebounded after the public realized the Blog [Post] was false.”

  (Sugarman Memo at 2.) These allegations, in addition to being far afield of the narrow,

  relevant issues in the Underlying Action, are factually baseless and constitute little more

  than an ill-conceived effort by Sugarman to scapegoat short sellers, and obfuscate his

  own alleged misconduct.

         Sugarman’s attempt to assign a nefarious motive to Castalian’s short position is

  not grounded in any reality. (See Sugarman Memo at 4-6.) On August 23, 2016 and

  September 7, 2016, respectively (i.e., before Castalian took short positions in Banc’s

  stock), Bloomberg News published two articles that raised questions about Sugarman’s

  ties to Galanis and identified “red flags” and “warning signs” regarding Banc’s stock.



                                              6
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 10 of 31 Page ID #:287



  (Gibson Decl. Ex. 2.) After Banc’s stock price began to fall in the wake of these

  Bloomberg News articles, Castalian made the informed decision to take a short position

  on Banc’s stock based upon its comprehensive market analysis that included a review of

  these articles and other publicly-available resources, all of which demonstrated

  Sugarman’s ties to Galanis. (Gibson Decl. ¶ 9.) Notably, Castalian’s invitation to

  provide an affidavit testifying to these realities was flatly rejected by Sugarman’s

  litigation team during a September 10, 2018 meet-and-confer. (Thomas Decl. ¶ 5.)

         The cornerstone of Sugarman’s “short and distort” theory is that after taking short

  positions, certain so-called “Short-and-Distort Traders” “flipped their investment position

  completely by buying more than 350,000 equity shares in Banc stock (twice as many as

  necessary to cover their short position).” (Sugarman Memo at 3, 6-12; Voetmann Decl.)

  Sugarman does not expressly allege that Castalian participated in this supposed scheme,

  but he refers generically throughout his brief to “certain of the Short-and-Distort

  Traders,” ostensibly to create the pregnant implication that Castalian was one such trader.

  (Id.) But as Sugarman well knows from the subpoenaed FINRA records referenced in his

  brief and provided to the Court, Castalian never took any long equity position following

  the publication of the Blog Post. (Gray Decl. ¶ 11; Gibson Decl. ¶ 11.) Nor did it

  otherwise engage in any trading activity aimed at benefiting from a subsequent stock

  price rebound. (Gibson Decl. ¶ 11.) In fact, Castalian maintains its short position in

  Banc stock today. (Id. ¶ 12.)

         Ironically, while Sugarman tries to blame short sellers for the drop in Banc’s stock

  price, his efforts cannot be reconciled with his own words on the topic. In a 2006 book



                                              7
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 11 of 31 Page ID #:288



  aptly-titled The Forewarned Investor: Don’t Get Fooled Again by Corporate Fraud,

  Sugarman rejected precisely what he attempts to do now: evade a reckoning for his own

  misdeeds by blaming the market’s reaction to alleged securities fraud on short sellers.

  Sugarman writes:

         The signs of fraud are often uncovered first by a small number of people
         who have been watching a company closely. When those people start to
         make their findings public, they may be the voice of the minority, but they
         may have important information to share . . . . Skeptics can come from a
         variety of places. One place to look for them is among short sellers, who
         are betting that a company’s stock will decline. When executives blame
         short sellers for the decline in their stock price, you can be pretty sure
         that something else is wrong with the business.

  (Thomas Decl., Ex. D at 2 (emphasis added).) Consistent with Sugarman’s own thoughts

  on the topic, short-selling is entirely legal and provides an important service and benefit

  to the market by exposing corporate fraud. (Gibson Decl. Ex. 1.) Finally, even if

  Sugarman’s market manipulation theory had any merit at all, which it does not, such

  allegations fall within the purview of the regulators who have identified no malfeasance.

         As discussed below, the court in the Underlying Action already found that

  discovery on Sugarman’s flawed theory is out of scope, and this Court should do the

  same, particularly here because the burden and prejudice that would result from

  producing client lists and communications regarding Castalian’s investments far

  outweighs any likely benefit in the litigation.




                                                8
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 12 of 31 Page ID #:289



                                       ARGUMENT

  I.    LEGAL STANDARD

        Federal Rule of Civil Procedure 26(b)(1) provides that “[p]arties may obtain

  discovery regarding any nonprivileged matter that is relevant to any party’s claim or

  defense and proportional to the needs of the case.”         Fed. R. Civ. P. 26(b)(1).

  “[D]iscovery may not be had on matters irrelevant to the subject matter involved in the

  pending action…and even if relevant, discovery is not permitted where no need is shown,

  or compliance would be unduly burdensome, or where harm to the person from whom

  discovery is sought outweighs the need of the person seeking discovery of the

  information.” Miscellaneous Docket Matter # 1 v. Miscellaneous Docket Matter # 2, 197

  F.3d 922, 925 (8th Cir. 1999) (internal quotation omitted); see also Pointer v. DART, 417

  F.3d 819, 821 (8th Cir. 2005) (“A subpoena must also seek relevant information.”).

        In addition, “[a] party or attorney responsible for issuing and serving a subpoena

  must take reasonable steps to avoid imposing undue burden or expense on a person

  subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). The Court “must quash or modify a

  subpoena that…subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iv).

  When considering undue burden, a subpoena recipient’s status as a non-party is a factor

  entitled to “special weight.” Miscellaneous Docket Matter, 197 F.3d at 927 (emphasis

  added). Enforcement of subpoenas is within the Court’s sound discretion. See id. at 925.




                                             9
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 13 of 31 Page ID #:290



  II.    THE SUBPOENAS SEEK DOCUMENTS AND INFORMATION THAT
         ARE IRRELEVANT TO THE ISSUES AND CLAIMS PENDING IN THE
         UNDERLYING ACTION

         Sugarman’s motion to compel should be denied because the information sought is

  not relevant to the claims in the Underlying Action. See In Re Nat’l Hockey League

  Players’ Concussion Injury Litig., No. MDL142551SRNBRT, 2017 WL 3276873, at *2

  (D. Minn. July 31, 2017) (explaining denial of motion to compel third-party production

  because it sought information that was not relevant to the claims and allegations in the

  underlying litigation). Here, Sugarman contends that records detailing Castalian’s “well

  timed” trading of Banc stock “is highly likely to support [his] materiality, class

  certification,3 and loss causation arguments.” (Sugarman Memo at 19.) This argument

  fails as a matter of law for the following four reasons.

         A.     Castalian’s investment decisions are irrelevant to whether defendants
                made material misrepresentations in their public disclosures

         The sole issue in the Underlying Action is whether Banc and Sugarman misled the

  investing public in connection with its April 2016 proxy by not disclosing their alleged

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    Beyond this bald allegation, Sugarman does not articulate how (or why) he believes that
  the subpoenas are relevant to resolving class-questions in the Underlying Action.
  Sometimes Sugarman claims the information goes to “class certification”; at others, he
  claims it goes to “class adjudication.” Class-certification has already been granted in the
  Underlying Action. (ECF No. 236.) Moreover, the U.S. Supreme Court has recently held
  that proof of neither materiality nor loss causation is necessary to certify a class in a
  fraud-on-the-market case. See Amgen Inc. v. Conn. Ret. Plans and Trust Funds, 568 U.S.
  455, 481-82 (2013) (materiality); Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S.
  804, 813 (2011) (loss causation). As for the presumption of reliance at class-
  adjudication, the confidential records of an individual investor could not possibly show
  that information was made “publicly known” so as to affect “the class’s reliance ‘on the
  security’s market price as an unbiased assessment of the security’s value in light of all
  public information.” (ECF No. 236 at 12 (citing Amgen, 568 U.S. at 461-63).)




                                               10
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 14 of 31 Page ID #:291



  connection to a convicted fraudster in Sugarman’s biography.        Castalian’s sensitive

  trading records are wholly irrelevant to whether Sugarman’s biography in the April 2016

  proxy was materially misleading.      The Underlying Action is a case about alleged

  misrepresentations and omissions by Sugarman, not how and when Castalian made its

  investment decisions relating to Banc’s stock.

         But even if the court were to countenance Sugarman’s theory that short sellers like

  Castalian somehow drove Banc’s stock price down based upon false information in the

  Blog Post, that theory can only be tested and proven based upon the truth of the

  statements in the Blog Post itself.

         This inquiry will not, and cannot, be answered or informed by Castalian’s private

  communications and confidential analyses since they have no bearing whatsoever on the

  truth or reliability of the Blog Post. Instead, the Blog Post will only be proven (or

  disproven) through Banc and Sugarman’s own records. See, e.g., In re Biovail Corp.,

  Secs. Litig., 247 F.R.D. 72, 74 (S.D.N.Y. 2007) (“[I]f those statements were false, it can

  prove their falsity from its own records. Thus Biovail does not need discovery from these

  non-parties to prove whether or not the reports of David Maris, for example, are false.

  Either they are or they aren’t.”); Aurelius v. BofI Fed. Bank, No. MC 16–71 DSF (FFM),

  2016 WL 8925145, at *3 (C.D. Cal. Sept. 20, 2016) (granting a motion to quash a

  subpoena where, as is the case here, defendant claimed that nonparties were involved in a

  “short and distort” market manipulation scheme, finding that allegations of coordinated

  and well-timed trading failed to demonstrate a need for the requested evidence).




                                             11
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 15 of 31 Page ID #:292



         B.     Fraud-on-the-market cases concern the knowledge of the market as a
                whole, not the knowledge of individual investors like Castalian

         Sugarman asserts that what Castalian and other investors knew about the contents

  of the Blog Post and its anticipated publication—and how and when they knew it—is

  “directly relevant” to loss causation. (Sugarman Memo at 14.) That is incorrect as a

  matter of law. What matters is when and what the market knew as a whole—not any

  specific investor.

         To prove loss-causation, a securities fraud plaintiff “must demonstrate a causal

  connection between the deceptive acts that form the basis for the claim of securities fraud

  and the injury suffered by the plaintiff.” In re Daou Sys. Inc., 411 F.3d 1006, 1025 (9th

  Cir. 2005).    Plaintiffs proceeding under the fraud-on-the-market theory prove loss

  causation by alleging a “‘corrective disclosure,’ followed by a drop in the price of the

  stock.” In re Amgen, Inc. Sec. Litig., 544 F. Supp. 2d. 1009, 1026 (C.D. Cal. 2008)

  (citing Basic Inc. v. Levinson, 485 U.S. 224, 249 (1988)). The plaintiff is harmed when

  the defendant’s alleged misstatement or omission “concealed something from the market

  that, when disclosed, negatively affected the value of the security.” City of Roseville

  Emps.’ Ret. Sys. v. EnergySolutions, Inc., 814 F. Supp. 2d. 395, 423 (S.D.N.Y. 2011)

  (internal citations omitted).

         “The investing public justifiably places heavy reliance on the statements and

  opinions of corporate insiders.” Hanon v. Dataproducts Corp., 976 F.2d 497, 503 (9th

  Cir. 1992) (citing In re Apple Comput. Sec. Litig., 886 F.2d 1109, 1116 (9th Cir. 1989)).

  To avoid Rule 10b-5 liability, “any material information which insiders fail to disclose




                                              12
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 16 of 31 Page ID #:293



  must be transmitted to the public with a degree of intensity and credibility sufficient to

  effectively counterbalance any misleading impression created by the insiders’ one-sided

  representations.” Hanon, 976 F.2d at 503 (citing Apple, 886 F.2d at 1116) (emphasis

  added). Thus, “in order to rebut the presumption that a fraudulent statement has been

  transmitted through the market price, [a] defendant must show that ‘corrective

  statements’ have ‘credibly entered the market.’” Hanon, 976 F.2d at 503 (citing Basic

  Inc, 485 U.S. at 224). 4

         Regardless of whether the inquiry concerns the plaintiff’s alleged corrective

  disclosure (i.e., the Blog Post) or the defendants’ effort to rebut it, information sought in

  discovery cannot be relevant to loss-causation in a securities case unless it reflects the

  knowledge of the market as a whole. Most commonly, market dissemination comes

  through the press. See Hanon, 976 F.2d 503 (“Dataproducts has produced no evidence to

  show that the SI 480’s technical problems were ‘made known to the market by the press

  or by anyone else’”) (quoting Apple, 886 F.2d at 1115-16 (finding that at least twenty


  4
    Curiously, Sugarman’s search for an earlier disclosure to the marketplace of his material
  omission of his ties to Galanis may only deepen his exposure. Implicit in Sugarman’s
  efforts to rebut a presumption of loss-causation from an alleged corrective-disclosure is a
  suggestion that the market was aware of the allegedly withheld information and had
  assimilated it into the share price. This proves an effective defense where the stock price
  had been volatile or rising prior to the purported corrective disclosure. Here, however,
  Banc’s stock value had been falling steadily prior to the Blog Post. See Yahoo! Finance
  Historical       Data,      Banc       of      California,      Inc.,    available       at:
  https://finance.yahoo.com/quote/BANC/history?period1=1469941200&period2=1476939
  600&interval=1d&filter=history&frequency=1d. If this steady decline in price resulted
  from an earlier corrective disclosure of which Castalian became aware, the discovery
  Sugarman seeks would serve only to lengthen the class-period and increase the class’s
  damages.




                                               13
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 17 of 31 Page ID #:294



  articles of intense, sustained press disclosure of adverse information served to render

  even statements of “unqualified exuberance” unactionable under Rule 10b-5)).

        Here, Castalian’s subjective views and analyses of Banc stock and its individual

  investment decision relative to Banc stock has no bearing upon what the market knew as

  a whole or whether the Blog Post led to a decline in Banc’s stock price. Furthermore, as

  detailed below, an individual investor’s trading activity, research, and decision-making

  process is not, and cannot be, a proxy for the knowledge of the market as a whole. See,

  e.g., In re Worlds of Wonder Sec. Litig., No. C-87-5491 SC (FSL), 1992 WL 330411, at

  *3 (N.D. Cal. July 9, 1992); In re Herbalife, Ltd. Sec. Litig., No. CV142850DSFJCGX,

  2015 WL 12732428, at *6 (C.D. Cal. Mar. 27, 2015); Meyer v. Greene, 710 F.3d 1189,

  1199-1200 (11th Cir. 2013).

        C.     Courts in analogous proceedings have quashed subpoenas aimed at
               third-party investors

        Consistent with the analysis above, courts have quashed analogous subpoenas

  issued by securities fraud defendants to individual investors because the records sought

  were irrelevant to a fraud-on-the-market theory. See In re Worlds of Wonder, 1992 WL

  330411, at *3. Worlds of Wonder concerned a fraud-on-the-market securities class action

  against a toy company which had fallen on hard times. Id. at *1. Plaintiffs claimed that

  the company had made false and misleading statements over a two-year period. Id.

  Defendants subpoenaed a number of sophisticated institutional investors who held shares

  in the company. Id. at *3. They—like Sugarman here—sought information to “show

  that the sophisticated institutional investors and the market as a whole were aware of all




                                             14
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 18 of 31 Page ID #:295



  the risks that plaintiffs contend were concealed” and “disregarded, or were uninterested

  in,” the allegedly fraudulent information.     Id. According to the Worlds of Wonder

  defendants (and Sugarman here), “the best way to determine what the market knew at any

  point in time is to seek discovery from market professionals, such as money managers at

  large institutional investors.” Id.

         The Court rejected the defendants’ argument, reasoning that the pertinent evidence

  of market knowledge would come from “underwriters, market makers and corporate

  insiders rather than individual investors, even large institutional investors.” Id. Notably,

  the court called the requests for individual investment records to be “highly irregular

  discovery” because the evidence sought from the investors “would not be relevant to the

  two major issues of materiality and reliance.” Id. at *6. Accordingly, the Court entered a

  protective order invalidating the defendants’ subpoenas. Id.

         A multitude of other cases support the same proposition that an individual

  investor’s opinion and decision-making process does not reflect the knowledge of the

  market as a whole. Both Herbalife and Meyer v. Greene dealt with short sellers—like

  Castalian here. Herbalife, 2015 WL 12732428, at *6; Meyer, 710 F.3d at 1199-1200. In

  those cases, noted Wall Street short sellers Bill Ackman and David Einhorn made

  presentations to investor conferences detailing their bearish opinions on the defendants’

  securities. Both the Herbalife and Meyer courts concluded that these presentations could

  not constitute corrective disclosures, and were otherwise irrelevant to the loss causation

  inquiry, because they consisted entirely of public information. See also In re Mannatech,

  Inc. Sec. Litig., No. CIV. 05-829 JP/RLP, 2007 WL 9717517, at *4 (D.N.M. Jan. 29,



                                               15
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 19 of 31 Page ID #:296



  2007) (“in a fraud-on-the-market case, plaintiffs do not have to prove the element of

  reliance by individual investors, and so whatever any individual class member knew or

  heard would be immaterial”) (emphasis added); Audio MPEG, Inc. v. HP Inc., No. 16-

  MC-80271-HRL, 2017 WL 950847, at *3-4 (N.D. Cal. Mar. 10, 2017) (“the motivations

  of a non-party are irrelevant to whether the parties are liable for antitrust violations…. A

  non-party’s motivations and understanding of its relationship with a party accused of

  monopolization has no bearing on any of these elements”).

         At bottom, Sugarman’s claim that the subpoenas seek evidence “highly likely to

  support [his] materiality, class certification, and loss causation arguments” is no different

  than the failed arguments advanced in Worlds of Wonder and its progeny. And, as

  detailed below, Sugarman cites no contrary authority suggesting that an individual

  investor’s records can be relevant in a fraud-on-the-market case.

         D.     The authority relied upon by Sugarman has nothing whatsoever to do
                with the issues or facts in this case

         Sugarman does not, because he cannot, cite a single case to support his position

  that individual investor records—like the records Sugarman requests here—are relevant

  to any element of the claims in a 10b-5 securities case. That is because no such case

  exists. Instead, Sugarman cites five cases that have nothing whatsoever to do with the

  issues or facts present here. (See Sugarman Memo at 18-20.) Each of the five inapposite

  cases are summarized briefly, in turn, below.

         In City of Farmington Hills Employee Retirement System v. Wells Fargo Bank,

  N.A., No. CV 10-4372 (DWF/JJG), 2012 WL 12898810, *1 (D. Minn. Mar. 23, 2012),




                                               16
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 20 of 31 Page ID #:297



  plaintiff sued defendant after enrolling in defendant’s securities lending program when

  the value of its investments declined, allegedly as a result of defendant’s poor investment

  decisions.    Defendant moved to compel information regarding plaintiff’s other

  investments and investment advice to defend against a claimed violation of the Minnesota

  Prevention of Consumer Fraud Act, Minn. Stat. § 325F.69, by showing that plaintiff had

  not relied on defendant’s alleged misrepresentation. Id. at *1-*2. The court ultimately

  required plaintiff to produce a limited subset of the information sought by defendant. Id.

  at *5. Not only does this case not involve any alleged violations of § 10(b) or § 20(a) of

  the Securities Exchange Act of 1934, but it involves discovery requests to a party to the

  action—not a non-party. Moreover, it does not bear on any of the issues for which

  Sugarman relies on it—namely, materiality, class certification, or loss causation in a

  securities case.

         In In re REMEC Inc. Securities Litigation, 702 F. Supp. 2d 1202, 1211 (S.D. Cal.

  2010), investors brought a class action against a company and its officers for allegedly

  overstating the company’s financial results. The court found that the methodology used

  by the plaintiffs’ expert in support of loss causation was fatally flawed, such that his

  results were not admissible. Id. at 1273. Without this evidence, plaintiffs were unable to

  withstand defendants’ motion for summary judgment as to loss causation. Id. at 1275.

  Notably, REMEC does not involve any discovery requests to a third-party, nor does it

  provide that the trading activity of individual investors is relevant to the issue of loss

  causation in a securities case.




                                              17
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 21 of 31 Page ID #:298



         Similarly, in In re Bank of America AIG Disclosure Securities Litigation, 980 F.

  Supp. 2d 564 (S.D.N.Y. 2013), aff’d, 566 F. App’x 93 (2d Cir. 2014) investors filed a

  class action against a corporation and its officers, alleging they had committed securities

  fraud by failing to disclose information about a potential lawsuit. The court granted

  defendants’ motion to dismiss because the “substance of the alleged omissions was

  already in the public domain.”        Id. at 577.   While AIG provides guidance on the

  materiality prong of a securities case, it does not involve any discovery requests to a

  third-party, nor does it find that the trading activity of individual investors is relevant to

  the issue of materiality.

         Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336 (2005) involves claims by

  shareholders against a company and its directors, alleging that defendants’ false statement

  regarding future approval of a new device artificially inflated the stock price. It does not,

  however, involve any third-party discovery. Nor does it provide that the trading activity

  of an individual investor is relevant to the issues of materiality, loss causation, or class

  certification in a securities case.

         Finally, in Loos v. Immersion Corp., 762 F.3d 880, 887 (9th Cir. 2014), as

  amended (Sept. 11, 2014), which also did not involve any third-party discovery issues,

  the court unequivocally confirms that the relevant inquiry in a fraud-on-the-market case

  is when the fraud is revealed to the market. In other words, in a fraud-on-the-market

  case, what individual investors knew has no bearing on the plaintiff’s claim.




                                               18
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 22 of 31 Page ID #:299



  III.   THE SUBPOENAS SEEK DOCUMENTS AND INFORMATION THAT
         THE COURT IN THE UNDERLYING ACTION HAS ALREADY FOUND
         TO BE OUTSIDE THE SCOPE OF PERMISSIBLE DISCOVERY

         Consistent with the narrow scope of the surviving claims, the court in the

  Underlying Action already determined that analogous third-party correspondence

  regarding market participants, short positions, the Blog Post and Aurelius – all requested

  in the subpoenas at issue here – are outside the scope of permissible discovery. (ECF No.

  146.) Specifically, in a February 14, 2018 order on omnibus discovery motions, the court

  determined, among other things, that the following exemplar document requests proffered

  by Sugarman were “outside the scope” of discovery:

         • Documents in the possession of a non-party Banc director that relate to any
           person or entity that earned profits from trading in Banc securities, including
           all communications with such persons or entities. (ECF No. 146 at 3; ECF No.
           102 at 15-16, Exemplar Request 15.)

         • Documents in Banc’s possession that reflect or relate to any association or
           affiliation between a third-party director and any person or entity associated
           with the Blog Post or Aurelius. (ECF No. 146 at 3; ECF No. 102 at 13-16,
           Exemplar Request 6, 16.)

         • Documents and communications relating to a non-party Banc director’s short
           or hedge positions held in Digital Turbine (for which that non-party also served
           as a director). (ECF No. 146 at 3, EC No. 102 at 14-15, Exemplar Request 10.)

         • Communications with Digital Turbine and any third parties, including any
           bloggers, who authored or contributed to negative articles or blogs about
           Digital Turbine. (ECF No. 146 at 3, EC No. 102 at 14, Exemplar Request 8.)

         More recently, on October 2, 2018, the court in the Underlying Action denied

  Sugarman’s motion to compel aimed at discovering whether Banc had communicated

  with and provided certain pleadings and information to journalists. In denying the

  motion, the court reiterated that the focus of discovery should be on the alleged



                                             19
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 23 of 31 Page ID #:300



  misrepresentations in the April 2016 proxy, stating: “At some point the basis for

  extending discovery beyond the circumstances surrounding the April 2016 Proxy

  becomes sufficiently attenuated that the relevance goes from slight to marginal to zero.”

  (Thomas Decl., Ex E at 2 (emphasis added).)

         While Sugarman has argued that these rulings should not have any preclusive

  effect here because the rejected discovery was directed to Banc directors for the purposes

  of rebutting “scienter” versus the “separate issue of loss causation” (Gray Decl., Ex. 10),

  the fact remains that the court determined that these inquiries and attendant subject

  matters were not reasonably tailored to the remaining, narrow issues in the Underlying

  Action.5 This Court should reach the same conclusions here. See UnitedHealth Grp. Inc.

  v. Columbia Cas. Co., No. CV 05-1289 (PJS/SRN), 2010 WL 11519975, at *4 (D. Minn.

  Nov. 23, 2010) (finding that prior rulings involving permissible scope of discovery in

  action provided “persuasive authority” in resolving future discovery dispute). On this

  basis alone, Sugarman’s motion fails and should be denied.




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    Unfortunately, notwithstanding the narrow issues left for discovery and trial in the
  Underlying Action, Sugarman has embarked upon an oppressive discovery campaign,
  including demands to seventy-five separate third parties. (ECF No. 358.) These demands
  have included subpoenas on at least nine other similarly-situated short sellers. (Thomas
  Decl., Ex. A.) Banc has described his discovery conduct as a “wide-ranging vendetta”
  (ECF No. 358 at 6) and an effort to push boundaries and “use this securities fraud class
  action as a bludgeon to air his grievances with Banc over the circumstances of his
  resignation.” (ECF No. 345 at 7.) Because Banc has agreed to reimburse all of
  Sugarman’s legal fees and costs in connection with the Underlying Action, Sugarman has
  deployed his blank check to wage war against his former colleagues, and now individual
  investors, without regard to its attendant costs. (Thomas Decl. Ex. B.)



                                              20
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 24 of 31 Page ID #:301



  IV.     THE MOTION SHOULD BE DENIED BECAUSE THE SUBPOENAS
          SEEK CONFIDENTIAL COMMERCIAL INFORMATION

          Pursuant to Rule 45, “[t]o protect a person subject to or affected by a subpoena,

  the court for the district where compliance is required may, on motion, quash or modify

  the subpoena if it requires…disclosing a trade secret or other confidential research,

  development, or commercial information.” Fed. R. Civ. P. 45(d)(3)(B)(i). “Confidential

  commercial information is information which, if disclosed, would cause substantial

  economic harm to the competitive position of the entity from whom the information was

  obtained.” Gen. Parts Distrib., LLC v. Perry, No. 12-MC-93 SRN/SER, 2013 WL

  3223374, at *3 (D. Minn. June 25, 2013) (quotations omitted). Such information need

  not constitute an actual trade secret for a subpoena to be quashed. See, e.g., id. at *4

  (affirming order quashing subpoena and noting that “the information sought to be

  protected need only be ‘confidential commercial information,’ not a ‘trade secret’”).

          Here, the Subpoenas unabashedly target Castalian’s confidential commercial

  information. Among other things, Sugarman seeks “ALL DOCUMENTS that reflect

  YOUR TRANSACTIONS in BANC SECURITIES,” including calculations of profits

  and “ALL DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to

  engage in any TRANSACTIONS in BANC SECURITIES.” (Gray Decl. Ex. 7, Requests

  2-3.)   Within these requests, Sugarman further targets Castalian’s sensitive market

  research and analyses including “all research, investigations, analysis or reports prepared

  by YOU, private investors, investigation research firms or other third parties.” (Id.)




                                              21
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 25 of 31 Page ID #:302



         And if Sugarman’s improper efforts to learn of the inter-workings of Castalian’s

  business were not bad enough, he also seeks to discover the identities and personal

  information of Castalian’s clients. Specifically, Sugarman seeks “ALL INVESTORS in

  YOU as of October 18, 2016, including contact information sufficient to identify the

  principals, addresses and contact information associated with the INVESTOR.” (Gray

  Decl. Ex. 7, Request 11.) Castalian owes a fiduciary duty to each of its clients and, in its

  capacity as a manager of client funds, vigorously safeguards the personal confidential

  information of its clients, many of whom are passive investors or wish to remain

  anonymous. Consistent with Castalian’s privacy policies and other written assurances

  (Gibson Decl. ¶ 7), Castalian’s clients have a reasonable expectation of privacy and to

  remain unidentified (and untangled) in tangential and irrelevant litigation.

         Because Castalian’s entire business, and its ability to compete in the marketplace,

  centers on market research-based investing, the bases, means and methods for

  establishing its market strategies and trading positions and decisions are highly

  proprietary and confidential and should not be subject to discovery. See Act, Inc. v.

  Sylvan Learning Sys., Inc., No. CIV. A. 99-63, 1999 WL 305300, at *2 (E.D. Pa. May 14,

  1999) (acknowledging that information regarding internal market research constitutes

  confidential commercial information within meaning of Rules 26(c) and 45 and should

  not be subject to discovery). Moreover, the personal information of Castalian investors is

  also confidential commercial information. See U.S. v. Three Bank Accounts, Nos. Civ.

  05–4145–KES, 06–4005–KES, 2008 WL 915199, at *8 (D.S.D. Apr. 2, 2008) (applying

  Rule 45’s provision regarding “confidential commercial information” to requests for



                                               22
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 26 of 31 Page ID #:303



  documents containing “social security numbers, employer identification numbers,

  account numbers, financial transactions, and other confidential information of a

  commercial nature”).

         Because the information sought is confidential commercial information, the

  burden is on Sugarman “to show that the information is relevant to the subject matter of

  the lawsuit and is necessary to prepare the case for trial.” ACI Worldwide Corp. v.

  Mastercard Tech., LLC, 2016 WL 3647850, at *5 (D. Neb. July 1 2016) (emphasis

  added). Sugarman does not, and cannot, meet this burden. The court in the Underlying

  Action has already ruled that the information is not relevant, and case law around the

  country establishes that such individual investor information is not necessary to defend

  against a fraud-on-the-market claim. (Section II(c), supra). Sugarman’s motion should

  therefore be denied.

  V.     THE SUBPOENAS SEEK DOCUMENTS AND INFORMATION THAT
         WOULD VIOLATE THE FIRST AMENDMENT RIGHTS OF OTHER
         THIRD PARTIES

         A subpoena issued at the request of a private party in a civil lawsuit “constitutes

  state action and as such is subject to constitutional limitations.” Doe v. 2TheMart.com

  Inc., 140 F. Supp. 2d 1088, 1091-92 (W.D. Wash. 2001) (citing New York Times Co. v.

  Sullivan, 376 U.S. 254, 265 (1964)).        Accordingly, the First Amendment limits a

  litigant’s civil subpoena power. See Los Angeles Mem’l Coliseum Comm’n v. Nat’l

  Football League, 89 F.R.D. 489, 492-94 (C.D. Cal. 1981) (discussing First Amendment

  implications of a civil subpoena to disclose the names of confidential journalistic sources,

  and holding that a party seeking to enforce a subpoena to disclose nonparty journalistic



                                              23
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 27 of 31 Page ID #:304



  sources must demonstrate that the information is of “certain relevance” and that there is a

  “compelling reason” for the disclosure).

         The Supreme Court has recognized that “an author’s decision to remain

  anonymous…is an aspect of the freedom of speech protected by the First Amendment.”

  McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 342 (1995). Furthermore, it is settled

  that anonymous speech on the internet is protected by the First Amendment just like other

  types of anonymous speech. See In re Anonymous Online Speakers, 661 F.3d 1168, 1173

  (9th Cir. 2011) (“Although the Internet is the latest platform for anonymous speech,

  online speech stands on the same footing as other speech—there is ‘no basis for

  qualifying the level of First Amendment scrutiny that should be applied’ to online

  speech.”) (quoting Reno v. Am. Civil Liberties Union, 521 U.S. 844, 870 (1997)).

         Federal Courts recognize that “the ability to speak anonymously on the Internet

  promotes the robust exchange of ideas and allows individuals to express themselves

  freely without ‘fear of economic or official retaliation…[or] concern about social

  ostracism.’” Anonymous Online Speakers, 661 F. 3d at 1173 (quoting McIntyre, 514 U.S.

  at 341-42); see also E. Coast Test Prep LLC v. Allnurses.com, Inc., 309 F. Supp. 3d 644,

  676 (D. Minn. 2017) (finding that plaintiff’s interest in using discovery process to

  unmask anonymous internet users did not outweigh interests of users to remain

  anonymous); Arista Records, LLC v. Doe 3, 604 F.3d 110, 114-19 (2d Cir. 2010) (finding

  that anonymous internet users had a First Amendment interest in maintaining their

  anonymity when a civil subpoena that was issued to the users’ internet service provider

  sought identifying information associated with their IP addresses); 2TheMart, 140 F.



                                              24
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 28 of 31 Page ID #:305



  Supp. 2d at 1090-93 (finding that Internet users who post to online bulletin boards using

  pseudonyms have exercised their First Amendment right to speak anonymously and

  cannot be stripped of their anonymity for merely speaking negatively about a company

  on the Internet).

         Likewise, here, Aurelius – a focus of the subpoenas – is an anonymous internet

  user who writes online blog articles under a pseudonym in order to expose corporate

  mismanagement and fraud.      The subpoenas constitute a blatant attempt to unmask

  anonymous authors and whistleblowers, including the identity of Aurelius. For example,

  Sugarman requests “ALL DOCUMENTS and COMMUNICATIONS that refer, reflect or

  relate to the BLOG or AURELIUS” including without limitation “any DOCUMENTS

  relating to AURELIUS’s identity.” (Gray Decl. Ex. 7, Request No. 4.)

         Such nonparty discovery cannot be used as a tool to obtain information about the

  identities of anonymous speakers, particularly where defendants would not be able to

  seek discovery from them directly. See Music Grp. Macao Commercial Offshore Ltd. v.

  Does, 82 F. Supp. 3d 979, 983 (N.D. Cal. 2015). In fact, courts have already resolved

  this exact issue with respect to Aurelius itself by quashing subpoenas aimed at

  determining Aurelius’s identity. Aurelius v. BofI Fed. Bank, No MC 16-71 DSF (FFM),

  2016 WL 8925145, at *3-6 (C.D. Cal. Sep. 20, 2016) (granting Aurelius’s motion to

  quash).

         Aurelius (like the anonymous internet users and authors in the above-referenced

  case law) has a First Amendment right to remain anonymous. Therefore, this Court




                                             25
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 29 of 31 Page ID #:306



  should deny Sugarman’s motion because the subpoenas would purport to violate

  Aurelius’s First Amendment rights.

  VI.    THE SUBPOENAS ARE UNDULY BURDENSOME ON THEIR FACE

         Rule 45 requires a party issuing a subpoena to “take reasonable steps to avoid

  imposing undue burden or expense on a person subject to the subpoena.” Fed. R. Civ. P.

  45(d)(1). In assessing undue burden, courts consider a number of factors, including

  overbreadth, relevance and whether the recipient is a non-party to the litigation. Cedar

  Rapids Lodge & Suites, LLC v. Seibert, No. 014CV04839SRNKMM, 2018 WL 3019899,

  at *3 (D. Minn. June 18, 2018).

         Here, the subpoenas serve as a poster child for the type of overbroad and unduly

  burdensome requests that courts routinely reject when directed at non-parties. Among

  other things, Sugarman seeks all communications, regardless of subject matter, with: (i)

  Banc (a party to the Underlying Action); (ii) third-parties representing Banc; and an

  additional (iii) thirty separate non-party individuals or entities, including journalists and

  Castalian’s own principal. (Gray Aff. Ex. 7, Request No. 1, 9.) Likewise, Sugarman

  seeks “ALL DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between

  YOU and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED

  GALANIS ENTITY, the BLOG, or AURELIUS” including communications with a non-

  exclusive list of 54 separate entities or persons, including journalists, news outlets,

  individual investors, persons associated with Banc, and “BofI Holdings, Inc.,” a

  completely separate company that has nothing to do with Banc or Sugarman. (Id.,

  Request No. 5.)



                                               26
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 30 of 31 Page ID #:307



        Sugarman      similarly   demands    “ALL     COMMUNICATIONS            with    and

  DOCUMENTS that refer, reflect or relate to GALANIS or any ALLEGED GALANIS

  ENTITY” (defined to include at least 30 separate entities) and “ALL DOCUMENTS that

  refer, reflect or relate to COMMUNICATIONS between YOU and COR CLEARING or

  COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.” (Id., Request No.

  6-7.) Sugarman then makes a similar demand for all such “COMMUNICATIONS

  between YOU” and 16 separate law firms, the SEC, at least 4 other “REGULATORS,”

  and all “BANC INVESTORS or SHORTS, or any representative thereof.”                 (Id. at

  Request No. 8.)

        These requests, seemingly limitless in scope, are impermissibly overbroad. See In

  re Biovail, 247 F.R.D at 74 (“the virtually limitless financial and other information

  Biovail seeks is unnecessary and irrelevant, at least in this case, and the burden these

  demands place on the subpoenaed non-parties and diversion of their staff to provide it far

  outweighs any probative value of the information”); In re Ashworth, Inc. Secs. Litig., No.

  99-cv-121, 2002 WL 33009225, at *6 (S.D. Cal. May 10, 2002) (“This Court’s review of

  the subpoenas issued to the financial analysts and investment companies reveals that the

  requests are overwhelmingly broad in category and content.”).

        The third-party subpoenas are facially overbroad and irrelevant, and they are

  therefore unduly burdensome under applicable authority. See Seibert, 2018 WL 3019899,

  at *3 (assessing burden based on factors that include overbreadth, relevance and whether

  the recipient is a non-party to the litigation).   Accordingly, the Court should deny

  Sugarman’s motion to compel.



                                             27
Case 8:19-mc-00005-AG-DFM Document 24 Filed 10/12/18 Page 31 of 31 Page ID #:308



  VII.   THE SUBPOENAS ARE DIRECTED TO AN ENTITY THAT DOES NOT
         EXIST

         Finally, the motion to compel should also be denied insofar as the subpoenas are

  improperly directed to James Gibson, LLC, which does not exist. (Gibson Decl. ¶ 3.)

  Castalian brought this issue to Sugarman’s attention, but no corrected subpoena was

  issued. Process directed to a non-existent entity is void. See, e.g., Carr v. Spherion, No.

  CIV.A. 08-0326, 2009 WL 3380007, at *3 (W.D. La. Oct. 19, 2009).



                                      CONCLUSION

         For the foregoing reasons, Castalian respectfully requests that this court enter an

  order denying, in its entirety, Sugarman’s motion to compel.


  Dated: October 12, 2018                       BRIGGS AND MORGAN, P.A.


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                                              28
